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                                                 U NI T E D S T A T E S DI S T RI C T C O U R T
                                                    DI S T RI C T O F S O U T H D A K O T A
                                                             W E S T E R N DI VI SI O N


U NI T E D S T A T E S O F A M E RI C A                                                         5: 2 0 - C R-5 0 1 2 2
                 Pl ai ntiff                                                        D E F E N D A N T ’S M O TI O N T O DI S MI S S
                        v.                                                          A N D F O R A L T E R N A TI V E R E LI E F
                                                                                    R E P L Y T O G O V E R N M E N T ’S
KI M B E R L E E PI T A W A N A K W A T                                             M E M O R A N D U M I N O P P O SI TI O N
                D ef e n d a nt                                                     D O C K E T N O’ S 2 3 8 A N D 2 5 5




Ki m b erl e e Pit a w a n a k w at
2 6 2 1 4 F ost er R o a d
M o nr o e, O R 9 7 4 5 6
ki m b erl e e. pit a n k wt @ g m ail. c o m

T h e H o n or a bl e L a wr e n c e L. Pi ers ol
U nit e d St at es Distri ct J u d g e
R m 2 0 2 U nit e d St at es C o urt h o us e
4 0 0 S. P hilli ps A v e n u e
Si o u x F alls, S D 5 7 1 0 4


I, Ki m b erl e e Pit a w a n a k w at , t h e D ef e n d a nt i n t h e a b o v e c a pti o n e d c as e, r es p e ctf ull y m o v es t his H o n or a bl e

C o urt f or Dis miss al of t h e P e n di n g I n di ct m e nt a n d F or Alt er n ati v e R eli e f. T his R e pl y R es p o n ds t o t h e

G o v er n m e nt ’s M e m or a n d u m i n O p p ositi o n a n d s h o ul d b e gr a nt e d f or t h e f oll o wi n g r e as o ns:

P R O C E D U R A L POS T U R E

      1.    T h e G o v er n m e nt is i n c orr e ct i n its su m m ar y of t h e pr o c e d ur al p ost ur e of t his c as e . T h e

            G o v er n m e n t’s c o nfl at es liti g ati o n of r el at e d a n d u nr el at e d iss u es a n d mis u n d erst a n ds h o w t h e y

            r el at e t o t his M oti o n t o Dis miss, t h e D ef e n d a nt’s first M oti o n t o Dis miss as a Pr o S e liti g a nt .

      2.    T h e G o v er n m e nt ’s r e p e at e d misst at e m e nts a n d f a bri c ati o ns a b o ut t h e r e c or d of t his c as e ar e q uit e

            a p p ar e nt f r o m c ar ef ul r e vi e w. T h e cl e ar r e c or d of i n eff e cti v e assist a n c e of c o u ns el h as alr e a d y


                                                                     P a g e 1 of 1 2
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        b e e n m a d e a n d c a us e d t h e r e c us al of t w o pr e vi o us J u d g es assi g n e d t o t his c as e. S e e D o c k et N o. ’s

        2 2 1, 2 3 6 (st yl e d as a r e -assi g n m e nt wit h o ut a n y e x pl a n ati o n of its b asis, a n d w hi c h w as cl e arl y

        a n ot h er r e c u sal, S e e D o c k et N o. 2 3 7 w h er e t h e D ef e n d a nt pr o vi d es a cl e ar h istor y of t his iss u e ).

   3.   D ef e n d a nt ’s M oti o n f or S e v er a n c e w as n e v er liti g at e d a n d w as n ot d e ni e d, as A U S A S a z a m a is

        w ell a w ar e, si n c e s h e w as s e cr etl y n e g oti ati n g a pl e a a gr e e m e nt wit h t h e f or m er c o- d ef e n d a nt

        w hi c h r e n d er e d D ef e n d a nt’s M oti o n m o ot.

   4.   D ef e n d a nt h as fil e d t w o M oti o ns t o C o m p el, w hi c h ar e b ot h still p e n di n g a n d u p o n a p p e al t o t his

        H o n or a bl e C o urt . N eit h er h a v e b e e n f ull y liti g at e d a n d t h e m a n y iss u es, i n cl u di n g iss u es of

        Pr os e c ut ori al mis c o n d u ct, ar e all still p e n di n g . S e e D o c k et N o. 2 5 4. I n t h at pl e a di n g D ef e n d a nt

        first b e c a m e a w ar e of a n d r ais e d a n a d diti o n al e xtr e m el y s eri o us G o v er n m e nt mis c o n d u ct iss u e

        t h at h as y et t o b e a d dr ess e d – t h at of t h e f or g er y of a n offi ci al G o v er n m e nt d o c u m e nt, a f als e

        w arr a nt r et ur n p u r p orti n g t o sh o w t h a t t his D ef e n d a nt w as arr est e d i n R a pi d Cit y, S out h D a k ot a.

   5.   T h e s e c o nti n ui n g d e c epti o ns a n d misr e pr es e n t ati o ns a b o ut t his c as e i n v ol v e r e p e at e d

        Pr os e c ut ori al mis c o n d u ct a n d a d eli b er at e d e c e pti o n of t his c o urt .

   6.   T h e “ d eli b er at e d e c e pti o n of a c o urt a n d j ur ors b y t h e pr es e nt ati o n of k n o w n f als e e vi d e n c e is

        i n c o m p ati bl e wit h t h e r u di m e nt ar y d e m a n ds of j usti c e. ” W or k m a n v. B ell , 1 7 8 F. 3 d 7 5 9, 7 6 6 ( 6t h

        Cir. 1 9 9 8), q u oti n g Gi gli o v. U nit e d St at es , 4 0 5 U. S. 1 5 0, 1 5 3 ( 1 9 7 2). T his r ul e a p pli es t o b ot h t h e

        s oli cit ati o n of f als e t esti m o n y a n d t h e k n o wi n g a c q ui es c e n c e i n f als e t esti m o n y. W or k m a n v. B ell ,

        1 7 8 F. 3 d 7 5 9, 7 6 6 ( 6t h Cir. 1 9 9 8), citi n g N a p u e v. Illi n ois , 3 6 0 U. S. 2 6 4, 2 6 9 ( 1 9 5 9).

   T H E G O V E R N M E N T F AI L E D T O E S T A B LI S H F E D E R A L J U RI S DI C TI O N I N T HI S C A S E

   A N D I S U SI N G T H E G R A N D J U R Y S E C R E C Y R U L E S T O HI D E M I S C O N D U C T

   7.   T h e G o v er n m e nt pr e s e nts a dist ort e d v ersi o n of t h e l e g al dis p ut es a n d pr et e n ds t h at t h e y ar e

        f a ctu al dis p ut es . It d o es s o i n or d er t o f als el y cl ai m t h es e ar e m er el y f a ct u al dis p ut es w h e n it

        k n o ws w ell t h at t h e y r el at e t o ot h er f o u n d ati o nal l e g al iss u es, s u c h as J uris di cti o n, M is c o n d u ct,

        T r e at y R i g hts a n d R e q uir e d El e m e nts of C h ar g e d Off e ns es .



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   8.   It is cl e arl y est a blis h e d l a w, f or e x a m pl e, t h at a c as e m a y b e dis miss e d d u e t o mis c o n d u ct i n t h e

        Gr a n d J ur y, s e e: U. S. v. C h a n e n, 5 4 9 F. 2 d 1 3 0 6 ( 9t h Cir. 1 9 7 7). In C h a n e n t h e C o urt pr o vi d e d a

        s u m m ar y of s o m e of t h e sit u ati o ns w h er e f e d er al c o urts h a v e dis miss e d i n di ct m e nts:

                    “ O n o c c asi o n, a n d i n wi d el y -v ar yi n g f a ct u al c o nt e xts, f e d er al c o urts h a v e dis miss e d

                    i n di ct m e nts b e c a us e of t h e w a y i n w hi c h t h e pr os e c uti o n s o u g ht a n d s e c ur e d t h e c h ar g es

                    fr o m t h e gr a n d j ur y. S e e, e. g., U nit e d St at es v. Est e p a , 4 7 1 F. 2 d 1 1 3 2 ( 2 d Cir. 1 9 7 2);

                    U nit e d St at es v. Wells , 1 6 3 F. 3 1 3 ( D.I d a h o 1 9 0 8); U nit e d St at es v. D e M ar c o , 4 0 1 F. S u p p.

                    5 0 5 ( C. D. C al. 1 9 7 5), a p p e al d o c k et e d, N o. 7 5 -3 8 2 4, 9t h Cir. D e c. 2 9, 1 9 7 5; U nit e d St at es

                    v. G all o , 3 9 4 F. S u pp. 3 1 0 ( D. C o n n. 1 9 7 5). T h es e dis miss als h a v e b e e n b as e d eit h er o n

                    c o nstit uti o n al gr o u n ds or o n t h e c o urt's i n h er e nt s u p er vis or y p o w ers. S e e g e n er all y

                    U nit e d St at es v. B as urt o , 4 9 7 F. 2 d 7 8 1 ( 9t h Cir. 1 9 7 4); i d. at 7 9 3 ( H ufst e dl er, J.,

                    c o n c urri n g); U nit e d St a t es v. Est e p a, s u pr a, 4 7 1 F. 2 d 1 1 3 2. 2 W h at e v er t h e b asis of t h e

                    dis miss al, h o w e v er, t h e c o urts' g o al h as b e e n t h e s a m e, "t o pr ot e ct t h e i nt e grit y of t h e

                    j u di ci al pr o c ess, " U nit e d St at es v. L ei b o witz , 4 2 0 F. 2 d 3 9, 4 2 ( 2 d Cir. 1 9 6 9), p arti c ul arl y

                    t h e f u n cti o ns of t h e gr a n d j ur y, fr o m u nf air or i m pr o p er pr os e c ut ori al c o n d u ct.

                    U. S. v. C h a n e n , 5 4 9 F. 2 d 1 3 0 6 ( 9t h Cir. 1 9 7 7). ”

   9.   T his pr os e c ut or h as alr e a d y m a d e cl e ar a n d dir e ct misr e pr es e nt ati o ns r e g ar di n g t h e e xisti n g

        e vi d e n c e i n t his c as e, s e e D o c k et N o. 2 5 4. Gi v e n t his r e c or d of mis c o n du ct i t is a vi ol ati o n of t h e

        D ef e n d a nt ’s D u e Pr o c ess a n d Br a d y ri g hts t o all o w t h e G o v e r n m e nt t o r el y u p o n Gr a n d J ur y

        s e cr e cy r ul es , w hi c h w er e e st a blis h e d t o pr ot e ct t h e D ef e n d a nt. At mi ni m u m, t his C o urt s h o ul d

        r e vi e w t h e Gr a n d J ur y r e c or d of t his c as e a n d d et er mi n e w h et h er t h er e h as b e e n mis c o n d u ct a n d if

        s o t h at r e q uir es i m m e di at e dis cl os ur e, r at h er t h an w aiti n g u ntil t h e ti m e of tri al t o dis cl os e t his

        i nf or m ati o n. T his will c a us e m or e d el a y a n d f urt h er h ar m t o t h e D ef e n d a nt a n d f urt h er w aste of

        G o v er n m e nt r es o ur c es pr os e c uti n g a c as e t h at s h o ul d n e v er h a v e b e e n br o u g ht.

   1 0. T h e G o v er n m e nt als o pr es e nts t h e p ositi o n t h at f a ct u al iss u es c a n n ot b e liti g at e d pr etri al a n d b e

        d is positi v e i n r el ati o n t o M oti o ns t o D is miss. T his p ositi o n is cl e arl y l e g all y wr o n g. F or e x a m pl e ,

                                                                 P a g e 3 of 1 2
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        a M oti o n t o S u p pr ess c a n r es ult i n s u p pr essi o n of e vi d e n c e is a mi x e d iss u e of l a w a n d f a ct .

        Gr a nt e d M oti o ns t o S u p pr ess r es ult i n e x cl usi o n of e vi d e n c e a n d oft e n c a us e dis miss al .

        A d diti o n all y, t h e G o v er n m e nt ci t es Fe d er al R ul e of Cr i mi n al P r o c e d ur e 1 2 ( b)( 1): “ ( 1) I n G e n er al.

        A p art y m a y r ais e b y pr etri al m oti o n a n y d ef e ns e, o bj e cti o n, or r e q u est t h at t h e c o urt c a n

        d et er mi n e wit h o ut a tri al o n t h e m erits …, ” mis u n d erst a n di n g t h at e a c h a n d e v er y ar g u m e nt m a d e

        i n D ef e n d a nt ’s D o c k et N o. 2 3 8 c o m pli es wit h t his r ul e a n d c a n b e liti g at e d wit h o ut tri al .

   1 1. Si mil arl y , t h e G o v er n m e nt f ails t o r e vi e w t h e r est of F e d er al R ul e of Cr i mi n al P r o c e d ur e 1 2,

        w hi c h g o es o n t o st at e at ( 2) t h at “ M o ti o ns T h at M a y B e M a d e at A n y Ti m e. A m o � o n t h at t h e

        c o urt l a c ks j uris di c � o n m a y b e m a d e at a n y � m e w hil e t h e c as e is p e n di n g .” T h us, iss u es r el ati n g

        t o j uris di cti o n m a y b e m a d e at a n y ti m e pri or t o tri al. T h e D ef e n d a nt h as alr e a d y r ais e d s e v er al

        iss u es r el ati n g t o 1 8 U. S . C. 1 1 5 3, a n d l a c k of M aj or Cri m es A ct j u ris di cti o n w hi c h li k el y r e v e al

        t h at t h e G o v er n m e nt pr es e nt e d f als e t esti m o n y t o t h e Gr a n d J ur y i n t his c as e.

   T H E I N DI C T M E N T I N T HI S C A S E C O N T AI N S C L E A R                          M A T E RI AL E R R O R S

   1 2. T h e D ef e n d a nt is c h ar g e d i n C o u nt I V a n d V of t he I n di ct m e nt, C o u nt I V all e g es a vi ol ati o n of 1 8

        U. S. C. 1 0 0 1( a)( 2). T his C o u nt f ail s t o ass ert a n y s p e cifi c j uris di cti o n p urs u a nt t o 1 8 U. S. C. 1 1 5 3

        b ut als o m a k es f a ct u al ass erti o ns t h at t h e G o v er n m e nt n o w a c k n o wl e d g es ar e li es a n d m ust h a v e

        b e e n k n o w n t o h a v e b e e n li es at t h e ti m e t h e y w er e pr es e nt e d t o t h e Gr a n d J ur y.

   1 3. C o u nt I V all e g es:

                    “ t h e d ef e n d a nt, Ki m b erl e e “ St or m y ” Pit a w a n a k w at, r e p ort e d t o O gl al a Si o u x T ri b e

                    D e p art m e nt of P u bli c S af et y C ri mi n al In v esti g at or D er e k P u c k ett t h at G e or g e D ull K nif e

                    h a d n ot b e e n pr es e nt at his r esi d e n c e at all o n A u g ust 5, 2 0 2 0 a n d t h at n o s h o oti n g h a d

                    o c c urr e d o n t h e pr o p ert y, w h e n s h e t h e n a n d th er e w ell k n e w t h at G e or g e D ull K nif e w as

                    pr e s e nt o n t h e pr o p ert y o n A u g ust 5, 2 0 2 0 a n d us e d a fir e ar m o n t h at d at e t o s h o ot i nt o

                    t h e v e hi cl e o c c u p i e d b y K. T. B urg e e a n d C ar m e n B ur g e e … ”




                                                                P a g e 4 of 1 2
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   1 4. T h e G o v er n m e nt n o w a d mits t h at t his is f als e. S e e D ef e n d a nts S u p pl e m e nt al M oti o n t o Dis miss,

        D o c k et N o. 2 5 3 , p ar a gr a p h 4:

                    “ T h e G o v er n m e nt n o w c o n c e d es t h at t his all e g e d f als e st at e m e nt d o es n ot r el at e i n a n y

                    w a y w h ats o e v er t o t h e s h o oti n g of all e g e d vi cti m C ar m e n B ur g e e. T h e G o v er n m e nt, i n its

                    R es p o ns e t o D ef e n d a nt’s M oti o n t o C o m p el, D o c k et N o. 2 4 8, at p a g e 5 st at es: “ T h e

                    d ef e n d a nt is n ot all e g e d t o h a v e b e e n i n v ol v e d i n a n y w a y i n G e or g e D ull K nif e’s

                    s h o oti n g of C ar m e n B ur g e e a n d h er v e hi cl e o n A u g ust 5, 2 0 2 0. ” ”

   1 5. T h e G o v er n m e nt als o k n o ws t h at t h e s h o oti n g di d n ot t a k e pl a c e o n t h e D ull Knif e pr o p ert y, or

        c ert ai nl y n ot i n pr o xi mit y t o t h e D ef e n d a nt , D o c k et N o. 2 5 3 , p ar a gr a p h 6:

                    “ O n W e d n es d a y, S e pt e m b er 3 0, 2 0 2 0, t h e G o v er n m e nt a p p e ar e d at a pr etri al h e ari n g i n

                    6: 2 0 -mj -0 0 2 4 3 -M K. D o c u m e nt 1 4 of t h at r e c or d is a r e p ort er’s tr a ns cri pt of a h e ari n g

                    b ef or e M a gistr at e J u d g e M ust af a K as u b h ai ( S e e D o c k et N o. 2 5 2 -1, D ef e n d a nts E x hi bit A

                    at p a g e 9 a n d 1 0). T h e f oll o wi n g e x c h a n g e t a k es pl a c e wit h t h e C o urt: A U S A H u y n h:

                    “ M y u n d erst a n di n g is t h e vi cti ms w e nt t o Mr. D ull K nif e’s h o us e t o pi c k u p a c hil d, a n d

                    t h e m ot h er of t h at c hil d, t h e vi cti m w as wit h his m ot h er i n t h e v e hi cl e. T h e y l eft b e c a us e

                    t h ey w er e t ol d t h at t h e p ers o n, t h e m ot h er of t h e c hil d, w as n ot r e a d y t o l e a v e a n d t o

                    c o m e b a c k i n a n h o ur, w hi c h t h e y w er e d oi n g. T h e n t h e d ef e n d a nt, i n a n ot h er v e hi cl e, h e

                    w as n ot i n t h e h o us e at t h e ti m e, c h as e d t h e m i n his v e hi cl e a n d fir e d m a n y r o u n ds. As

                    t h e y g ot cl os e t o t h e hi g h w a y, h e p us h e d t h e m u p i nt o a n ot h er l o c ati o n t o fir e e v e n m or e

                    r o u n ds. ””


   P RI M A F A CI E E VI D E N C E O F G R A N D J U R Y MI S C O N D U C T


   1 6. T h es e a d missi o n s b y t h e Go v er n m e nt t h at i t f als el y c h ar g ed D ef e n d a nt i n C o u nt I V r ais e

        si g nifi c a nt a n d tr o u bli n g q u esti o ns a b o ut w h at e vi d e n c e it pr es e nt e d t o t h e Gr a n d J ur y i n t his

        c as e, r ais e iss u es of Gr a n d J ur y mis c o n d u ct t h at c a n r es ult i n dis miss al a n d r e q uir e f urt h er

        dis c o v er y, S e e p ar a gr a p h 8 a b o v e.


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   1 7. T his C o urt s h o ul d als o Or d er t h e G o v er n m e nt t o pr ovi d e a Bill of P arti c ul ars r e q uiri n g t h e

        G o v er n m e nt t o s p e cif y t h e s p e cifi c f a cts t h at it all e g es a n d is r e q uir e d t o pr o ve i n or d er t o

        e st a blis h, b e y o n d a r e as o n a bl e d o u bt, t h at t h e D ef e n d a nt is g uilt y of C o unt I V a n d V, si n c e t h e

        f a cts it err o n e o usl y pr es e nt e d i n t h e I n di ct m e nt a n d t o t h e Gr a n d J ur y ar e w h oll y c o ntr a di ct e d b y

        t h e G o v er n m e nt ’s c urr e nt st at e m e nts.

   1 8. T h e D ef e n d a nt ass erts t h at t h e G o v er n m e nt k n o wi n gl y pr es e nt e d t h e st at e m ent of I a n D ull K n if e

        t o t h e Gr a n d J ur y , pr es u m a bl y vi a t esti m o n y fr o m c orr u pt f or m er CI P u c k ett. T h at d eli b er at e f als e

        t esti m o n y w oul d h a v e b e e n a s u m m ar y fr o m P u c k ett of I a n D ull K n if e’s f als e j ail h o us e st at e m e nt

        t h at h e s a w t h e c o-d ef e n d a nt s h o ot at t h e B urg e e v e hi cl e wit h a n A R 1 5 rifl e a n d t h e n h a n d t h e

        rifl e t o t h e D ef e n d a nt. T h e G o v er n m e nt k n e w t h at t his t es ti m o n y m ust h a v e b e e n f als e b e c a us e a

        c urs or y e x a mi n ati o n of t h e s p e nt b ull et s h o ws t h at it c a m e fr o m a pist ol a n d n ot a rifl e. T his

        C o urt h as c o nsist e ntl y r ef us e d t o c o m p el t h e t esti n g n e c ess ar y t o e st a blis h t h e tr ut h a n d a p p e ars t o

        b e d eli b er at el y pr o t e cti n g a c orr u pt p r os e c ut or a n d a c orr u pt f or m er cri mi n al i n v esti g at or.

   P R E T RI A L M O TI O N S T O DI S MI S S A R E A P P R O P RI A T E P U R S U A N T T O R U L E 1 2( 3)

   1 9. T h e G o v er n m e nt als o f ails t o r e c o g ni z e or r es p e ct F e d er al R ul e of Cr i mi n al P r o c e d ur e 1 2 ( 3),

        w hi c h r e c o g ni z es t h at t h e f oll o wi n g m oti o n s M U S T b e m a d e b ef or e tri al: (i) i m pr o p er v e nu e;

        (ii) pr ei n di ct m e nt d el a y; (iii) a vi ol ati o n of t h e c o nstit uti o n al ri g ht t o a s p e e d y tri al; (i v) s el e cti v e

        or vi n di cti v e pr os e c uti o n; a n d ( v) a n err or i n t h e gr a n d-j ur y pr o c e e di n g or pr eli mi n ar y h e ari n g;

        ( B) a d ef e ct i n t h e i n di ct m e nt or i nf or m ati on; i n cl u di n g; (i) j oi ni n g t w o or m or e off e ns es i n t h e

        s a m e c o u nt ( d u pli cit y); (ii) c h ar gi n g t h e s a m e off e ns e i n m or e t h a n o n e c o u nt ( m ulti pli cit y); (iii)

        l a c k of s p e cifi cit y; (i v) i m pr o p er j oi n d er; a n d ( v) f ail ur e t o st at e a n off e ns e; ( C) s u p pr essi o n of

        e vi d e n c e; ( D) s e v er a n c e of c h ar g es or d ef e n d a nts u n d er R ul e 1 4; a n d ( E) dis c o v er y u n d er R ul e

        1 6.

   2 0. It is cl e ar fr o m R ul e 1 2 t h at D ef e n d a nts M oti o ns h a v e b e e n a p pr o pri at e a n d ar e a p pli c a bl e t o t h e

        pr e cis e sit u ati o n at iss u e i n t his c as e.



                                                                 P a g e 6 of 1 2
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   2 1. T h e D ef e n d a nt h as m a d e a pri m a f a ci e c as e of mis c o n d u ct i n t h e Gr a n d J ur y pr o c ess, s e e

        P ar a gr a p h 1 1 a b o v e a n d D o c k et N o. 2 5 3. W h er e a D ef e n d a nt h as m a d e a pri m a f a ci e c as e of

        mis c o n d u ct t h e n t h e C o urt m ust or d er dis cl os ur e of t h e Gr a n d J ur y pr o c e e di n gs p urs u a nt t o Br a d y

        a n d t h e D u e Pr o c ess Pr o t e cti o ns A ct, whi c h r e q uir es “ ti m el y” pr o d u cti o n of Br a d y i nf or m ati o n.

        T h e Gr a n d Jur y i n t his c as e r et ur n e d a n I n di ct m e nt s o m eti m e ar o u n d S e pt e m b er 1 7, 2 0 2 0, b ut t h e

        I n di ct m e nt its elf l a c ks a d at e, a n ot h er err or.

   2 2. T h e G o v er n m e nt i d e ntifi e s c as es t h at s u p p ort t h e pr o p ositi o n t h at misst at e m e nts t o t h e Gr a n d

        J ur y m ust b e m at eri al, as is cl e arl y t h e c as e h er e . T h e Gr a n d J ur y r et ur n e d a n i n di c t m e nt all e gi n g

        t h at t h e D ef e n d a nt w as b ot h dir e ctl y a w ar e of t h e s h o oti n g a n d t h at G e or g e D ull K nif e w as o n t h e

        pr o p ert y, a n d t h e G o v er n m e nt n o w c o n c e d es t h at t his w as f als e a n d is cl e arl y m at eri al t o C o u nt

        I V. If t h e Go v er n m e nt w er e all o w e d t o pr es e nt s u c h a c h ar gi n g d o c u m e nt t o t h e j ur y i n t his c as e it

        w o ul d all o w d eli b er at e f als e st at e m e nts t o b e pr es e nt e d t o t h e j ur y, w hi c h is cl e arl y m at eri al.

   T H E G O V E R N M E N T L A C K S F E D E R A L J U RI S D I C TI O N I N T HI S C A S E

   2 3. A t p a g e 5 of t h e G o v er n m e nts O p p ositi o n A U S A S a z a m a a d mits f or t h e first ti m e i n this c as e t h at

        t h e G o v er nm e nt h as n o Juri sdi cti o n p urs u a nt t o t h e M aj or Cri m es A ct, 1 8 U. S. C. § 1 1 5 3 a n d n o w

        ass erts J urisdi cti o n p urs u a nt t o t h e G e n er al Cri m es A ct, b ut f ails t o pr o vi d e its St at ut ory Cit ati o n,

        w hi c h is 1 8 U. S. C. § 1 1 5 2. T h e G o v er n m e nt c orr e ctl y cit es t h e f oll o wi n g g e n er al j uris di cti o n

        pr o visi o n of § 1 1 5 2 b ut t h e n i g n or es t h e f oll o wi n g s e cti o n of t h e st at ut e: “ T his s e cti o n s h all n ot

        e xt e n d t o off e ns es c o m mitt e d b y o n e I n di a n a g ai nst t h e p ers o n or pr o p ert y of a n ot h er I n di a n , n or

        t o a n y I n di a n c o m mitti n g a n y off e ns e i n t h e I n di a n c o u ntr y w h o h as b e e n p u nis h e d b y t h e l o c al

        l a w of t h e tri b e, or t o a n y c as e w h er e, b y tr e at y sti p ul ati o ns, t h e e x cl usi v e j uris di cti o n o v er s u c h

        off e ns es is or m a y b e s e c ur e d t o t h e I n di a n tri b es r es p e cti v el y , ” w hi c h pr e cl u d es e x a ctl y t his c as e.

   2 4. T h e F e d er al G o v er n m e nt m ust e st a blis h j uris dicti o n , eit h er s u bj e ct m att er ( M aj or Cri m es A ct

        vi ol ati o ns – w hi c h ar e n ot all e g e d h er e) , or i n p ers on a m j uris di cti o n. T h e b ur d e n of est a blis hi n g

        j urisdi cti o n f alls o n t h e G o v e r nm e nt . T h e D ef e n d a nt w as li v i n g wit h G e or g e D ull K nif e, a

        m e m b er of t h e O gl al a Si o u x tri b e b y birt h , as c o m m o n l a w h us b a n d a n d wif e, a n d h a d a c hil d

                                                                 P a g e 7 of 1 2
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        wit h G e or g e D ull K nif e, w h o w as als o m e m b er of t h e O gl al a Si o u x tri b e b y birt h . As t h e

        G o v er n m e nt is als o a w ar e , t w o of D ef e n d a nt’s c hil dr e n w er e e nr oll e d i n t h e L a k ot a Wal d orf

        s c h o ol wit hi n t h e Pi n e Ri d g e R es er v ati o n. A d diti o n all y, t h e G o v er n m e nt f als el y s a ys t h at t h e

        D ef e n d a nt cl ai m e d t o b e a n e nr oll e d tri b al m e m b er, w hi c h is n ot tr u e . T h e D ef e n d a nt tr ut hf ull y

        t ol d P u c k ett t h at Def e n d a nt is affili at e d wit h t h e Sil et z tri b e of Or e g o n.

   2 5. As t h e S u pr e m e C o urt m a d e cl e ar i n K e e bl e v. U nit e d St at es 8 2 1 2 5 3 2 3, 4 1 2 U. S. 2 0 5, 9 3 S. Ct.

        1 9 9 3, 3 6 L. E d. 2 d 8 4 4 ( 1 9 7 3 ), t h e tri b e h as e xcl usi v e j urisdi c � o n o v er n o n -M a j or Cri m es a ct

        cri m es :

                     “A s t h e o pi ni o n of t h e C o urt d e m o nstr at es, t h e M aj or Cri m es A ct, 1 8 U. S. C. § § 1 1 5 3,

                     3 2 4 2, w as e n a ct e d i n r es p o ns e t o t his C o urt's d e cisi o n i n E x p art e Cr o w D o g, 1 0 9 U. S.

                     5 5 6, 3 S. Ct. 3 9 6, 2 7 L. E d. 1 0 3 0. T h e A ct c o nf err e d j uris di c � o n u p o n f e d er al distri ct c o urt s

                     o v er c ert ai n e n u m er at e d cri m es c o m mi t e d b y I n di a ns o n a n I n di a n r es er v a � o n, l e a vi n g

                     tri b al j uris di c � o n i nt a ct as t o all ot h er cri m es.” Hi g hli g hti n g a d d e d.

   2 6. T h e c o urt c o nti n u e d:

                     “ It is a c o m m o n pl a c e t h at f e d er al c o urts ar e c o urts of li mit e d j uris di ctio n , a n d t h at t h er e

                     ar e n o c o m m o n -l a w off e ns es a g ai nst t h e U nit e d St at es. ' T h e l e gisl ati v e a ut h orit y of t h e

                     U ni o n m ust first m a k e a n a ct a cri m e, affi x a p u nis h m e nt t o it, a n d d e cl ar e t h e C o urt t h at

                     s h all h a v e j uris di cti o n of t h e off e n c e .' U nit e d St at es v. H u ds o n, 7 Cr a n c h 3 2, 3 4, 3 L. E d.

                     2 5 9. 'It is a xi o m ati c t h at st at ut es cr e ati n g a n d d efi ni n g cri m es c a n n ot b e e xt e n d e d b y

                     i nt e n d m e nt, a n d t h at n o a ct, h o w e v er wr o n gf ul, c a n b e p u nis h e d u n d er s u c h a st at ut e

                     u nl ess cl e arl y wit hi n its t er ms .'...” Hi g hli g hti n g a d d e d.

   2 7. It is t h e G o v er n m e nt’s b ur d en t o est a blis h j uris di cti o n ov er t hi s D ef e n d a nt, w hi c h it h as

        c o nsist e ntl y f ail e d t o d o. T h e G o v er n m e nt mist a k e nl y ass erts t h at t h e “ d ef e n d a nt ’s r a c e is n ot a n

        el e m e nt of pr o of at tri al , ” f aili n g t o u n d erst a n d t h at i n or d er t o est ablis h a n y ar g u a bl e j uris di cti o n

        t h e G o v er n m e nt m ust est a blis h t h at t h e D ef e n d a nt is n ot a n “ I n dia n ” as t h at is d ef i n e d. T h e m att er


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        of j u ris di cti o n is a m att er t h at “ m a y b e m a d e at a n y ti m e ” , as cl e arl y est a blis h e d b y F e d er al R ul e

        of Cri mi n al Pr o c e d ur e 1 2( 2) . T h e G o v er n m e nt m ust est a blis h s u c h i n or d er t o h a v e j uris di cti o n ,

        n ot as a m att er of f a ct at tri al . T h e G o v er n m e nt’s ar g u m e nt, t a k e n at f a c e v al u e w o ul d m e a n t h at

        a n y p ers o n i n a n y st at e c o ul d b e c h ar g e d wit h a vi ol ati o n of 1 8 U. S. C. § 1 0 0 1 r e g ar dl ess of

        j uris di cti o n, whi c h is a bs ol ut el y i n c o nsist e n t wit h t h e e ntir e f abri c of U. S. jur is pr u d e n c e

        est a blis hi n g f e d er al c o urts as c o urt s of li mit e d j uris di cti o n , s e e K e e bl e ab o v e .

   A “ F E D E R A L G O V E R N M E N T A G E N C Y ” I S R E Q UI R E D B Y 1 8 U . S. C. § 1 0 0 1 A N D A N Y

   A L L E G E D F A L S E S T A T E M E N T M U S T B E M A T E RI A L A N D I S A N E L E M E N T O F T H E

   OFF E NS E

   2 8. T h e G o v er n m e nt als o mist a k e nl y ass erts t h at it is n ot r e q uir e d t o pr o v e t h at c orr u pt f or m er CI

        P u c k ett w as a f e d er al a g e nt, w hi c h is in c o nsist e nt wit h t h e Ei g ht h Cir c uit M o d el J ur y

        I nstr u cti o ns, a n d c o nsist e nt c as e l a w, w hi c h i n di c at e t h e f oll o wi n g, se e:

        htt ps:// w w w. c a 8. us c o urts. g o v/sit es/ c a 8/fil es/ 2 0 2 1 % 2 0 E diti o n -

        Cri mi n al % 2 0J ur y % 2 0I nstr u cti o ns. p df , at p a g e 2 9 2:




                                                                P a g e 9 of 1 2
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   2 9. T h e i nstr u cti o n m a k es cl e ar t h at t h e G o v er n m e nt m ust pr o v e b ot h t h at D ef e n d a nt li e d t o a

        “ f e d er al g o v er n m e nt a g e n c y” a n d als o t h at it w as m at eri al. M at eri alit y is a s ep ar at e el e m e nt of t h e

        off e ns e . T h e F als e St at e m e nts A c c o u nt a bilit y A ct of 1 9 9 6, P u b. L. 1 0 4 -2 9 2, H R 3 1 6 6 ( O ct. 1 1,

        1 9 9 6), a m e n d e d § 1 0 0 1 t o e x pli citl y i n cl u d e all t hr e e br a n c h es of t h e f e d er al g o v er n m e nt,

        eff e cti v el y o v err uli n g H u b b ar d . H o w e v er, t h e m aj orit y of c as es br o u g ht u n d er t his st at ut e d e al

        wit h f als e st at e m e nts t o a g o v er n m e nt a g e n c y, g e n er all y wit hi n t h e e x e c uti v e br a n c h .

   3 0. T h e G o v er n m e nt als o i g n or es t h e iss u e of m at eri alit y of a n y all e g e d f als e st ate m e nt , a r e q uir e d

        el e m e nt of 1 8 U. S. C. § 1 0 0 1, si n c e it n o w a d mits t h at t h e D ef e n d a nt w as n ot i n v ol v e d i n a n y w a y

        wit h f or m er c o-d ef e n d a nt ’s c o n d u ct. T h e G o v er n m e nt s h o ul d b e r e q uir e d t o e x pl ai n t o t his C o urt

        w h at t h e s u p p os e d f als e st at e m e nt t h at D ef e n d a nt m a d e a n d h o w it is m at eri al t o t his c as e , gi v e n

        t h e G o v er n m e nt’s a d missi o n t h at t h e D ef e n d a nt w as n ot i n v ol v e d. T h e G o v er n m e nt ’s ass erti o n

        t h at it w o ul d h a v e c h ar g e d D ef e n d a nt u n d er t h e M aj or Cri m es A ct gi v e n a d diti o n al e vi d e n c e of


                                                                P a g e 1 0 of 1 2
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        h er I n di a n h erit a g e is p at e ntl y a bs ur d gi v e n t h e G o v er n m e nt ’s a d missi o n t h at t h e D ef e n d a nt h a d

        n ot hi n g t o d o wit h t h e a ct u al cri m e i n v ol v e d i n t his c as e .

   T R E A T Y L A W I S T H E S U P R E M E L A W O F T H E L A N D P U R S U A N T T O A R TI C L E VI O F

   T H E U NI T E D S T A T E S C O N S TI T U TI O N

   3 1. A U S A S a z a m a a p p e ars t o b e u nf a mili ar wit h Arti cl e VI of t h e U nit e d St at es C o nstit uti o n, w hi c h

        pr o vi d es as f oll o ws i n r el ati o n t o Tr e aty L a w:

                     “ T hi s C o ns �t u � o n, a n d t h e L a ws of t h e U nit e d St at es w hi c h s h all b e m a d e i n P urs u a n c e

                     t h er e of; a n d all Tr e a � es m a d e, or w hi c h s h all b e m a d e, u n d er t h e A ut h orit y of t h e

                     U nit e d St at es, s h all b e t h e s u pr e m e L a w of t h e L a n d; a n d t h e J u d g es i n e v er y St a t e s h all

                     b e b o u n d t h er e b y, a n y T hi n g i n t h e C o ns �t u � o n or L a ws of a n y St at e t o t h e C o ntr ar y

                     n ot wit hst a n di n g .”

   3 2. T h e U nit e d St at es G o v er n m e nt e nt er e d i nt o 3 0 Tr e ati es wit h t h e Gr e at Si o u x N ati o n b et w e e n

        1 8 1 5 a n d 1 8 6 8, S e e U nit e d St at es N ati o n al Ar c h i v es: htt ps:// w w w. ar c hi v es. g o v/r es e ar c h/ n ati v e -

        a m eri c a ns/tr e ati es/ c at al o g -li n ks ? _ g a = 2. 2 0 0 9 2 5 5 5 0. 1 9 2 1 2 8 2 1 6 0. 1 6 9 1 6 0 8 8 7 4-

        1 7 3 8 6 5 4 8 4 6. 1 6 9 1 6 0 8 8 7 4

   3 3. I n a n ig n o mi ni o us att e m pt t o di v est N ati v e A m eri c a ns of t h eir T r e at y R i g hts, C o n gr ess p ass e d t h e

        I n di a n A p pr o pri ati o ns A ct of 1 8 7 1, b ut e v e n t h at st at ut e pr o vi d e d t h e f oll o wi n g :

                     “ b ut n o o bli g a � o n of a n y tr e at y l a wf ull y m a d e a n d r a � ﬁ e d wit h a n y s u c h I n di a n n a � o n

                     or tri b e pri or t o M ar c h 3, 1 8 7 1, s h all b e h er e b y i n v ali d at e d or i m p air e d. S u c h tr e a � es,

                     a n d a n y E x e c u � v e or d ers a n d A cts of C o n gr ess u n d er w hi c h t h e ri g hts of a n y I n di a n tri b e

                     t o ﬁs h ar e s e c ur e d, s h all b e c o nstr u e d t o pr o hi bit (i n a d di � o n t o a n y ot h er pr o hi bi � o n)

                     t h e i m p osi � o n u n d er an y l a w of a St at e or p oli � c al s u b di visi o n t h er e of of a n y t a x o n a n y

                     i n c o m e d eri v e d fr o m t h e e x er cis e of ri g hts t o ﬁs h s e c ur e d b y s u c h tr e at y, E x e c u � v e

                     or d er, or A ct of C o n gr ess if s e c � o n 7 8 7 3 of �tl e 2 6 d o es n ot p er mit a li k e F e d er al t a x t o

                     b e i m p os e d o n s u c h i n c o m e. ”

                                                                   P a g e 1 1 of 1 2
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      3 4. T his m a k es cl e ar t h e U nit e d St at es C o ns tit uti o n est a blis h es Tr e at y L a w as t h e “ S u pr e m e L a w of

            t h e L a n d, ” bi n di n g t h e J u d g es i n “ e v er y st at e ” a n d t h at eff orts t o u n d er mi n e t h es e Tr e ati es

            p urs u a nt t o t h e I n di a n A p pr o pri ati o ns A ct f ail e d o n t h eir f a c e b e c a us e t h e t hirt y tr e ati es wit h t h e

            Gr e at Si o u x N ati o n w er e l a wf ull y m a d e a n d r atifi e d p ri or t o 1 8 7 1. T his cl e arl y est a blis h es t h at

            t h e ar g u m e nts t h e D ef e n d a nt r ais e d p urs u a nt t o Tr e at y L a w ar e v ali d a n d all l at er i n c o nsist e nt

            f e d er al st at ut es t h at c o nfli ct wit h a n y pri or Tr e at y pr o visi o n ar e t h er ef or e f a ci all y i n v ali d a n d

            u n c o ns tit uti o n al vi ol ati o ns of Articl e VI .

      3 5. T h e U nit e d St at es C o nstit uti o n is t h e S u pr e m e l a w of t h e U nit e d St at es of A m eri c a.             Arti cl e VI of

            t h e U nit e d St at es C o nstit uti o n cl e a rl y est a blis h es Tr e at y L a w, i n clu di n g all t hirt y Si o u x N ati o n

            Tr e ati es as t h e l a w of t his l a n d t h at m ust b e u p h el d b y t h e J u d g es of e v er y st at e. T h e l a w is cl e ar

            i n t his r e g ar d, a n d a n y f e d er al st at ut e t h at c o nfli cts wit h Arti cl e VI a n d t h e t h irt y Si o u x N ati o ns

            Tr e ati es is U n c o nstit uti o n al.

T h e D ef e n d a nt M o v es t his H o n or a bl e C o urt t o Dis miss t his I n di ct m e nt a n d F or Alt er n a ti ve R eli ef

C o ns ist e nt wit h t his M oti o n a n d D o c k et N o. 2 5 3 .



D at e d t his 9t h d a y of A u g ust 2 0 2 3


R es p e ctf ull y ,

/ s / Ki m berlee Pit a w a n a k w at

Ki m b erl e e Pit a w a n a k w at
2 6 2 1 4 F ost er R o a d
M o nr o e, O R 9 7 4 5 6
ki m b erl e e. pit a n k wt @ g m ail. c o m




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